                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

    In re:
                                                              CHAPTER 11
    FOX SUBACUTE AT MECHANICSBURG,                            CASE NOS.           1:19-bk-04714-HWV
    LLC, FOX SUBACUTE AT CLARA BURKE,                                             1:19-bk-04716-HWV
    INC., FOX SUBACUTE AT SOUTH                                                   1:19-bk-04717-HWV
    PHILADELPHIA, LLC and FOX NURSING                                             1:19-bk-04715-HWV
    HOME CORP. d/b/a FOX SUBACUTE AT
    WARRINGTON                                                                    (Jointly Administered)

                         Debtors.


     THE OFFICIAL COMMITTEE OF
     UNSECURED CREDITORS OF THE
     ESTATES OF FOX SUBACUTE AT
     MECHANICSBURG, LLC, ET AL.1

                         Plaintiff,

        v.                                                   Adversary No. 22-


     FOX SUBACUTE MANAGEMENT, INC.,

                         Defendant.



                        COMPLAINT TO AVOID TRANSFERS
      PURSUANT TO 11 U.S.C. §§ 547 AND 548, RECOVER PROPERTY PURSUANT
         TO 11 U.S.C. § 550 AND DISALLOW CLAIMS UNDER 11 U.S.C. § 502


         The Official Committee of Unsecured Creditors of the estates of Fox Subacute at

Mechanicsburg, LLC, Fox Subacute at Clara Burke, Inc., Fox Subacute at South Philadelphia,



1
   The Official Committee of Unsecured Creditors commences this lawsuit on behalf of the estates of Fox Subacute
at Mechanicsburg, LLC, Fox Subacute at Clara Burke, Inc., Fox Subacute at South Philadelphia, LLC and Fox
Nursing Home Corp. d/b/a Fox Subacute at Warrington, which cases are jointly administered.


8854297 v1

Case 1:22-ap-00039-HWV               Doc 1 Filed 08/26/22 Entered 08/26/22 12:04:19                        Desc
                                    Main Document    Page 1 of 12
LLC and Fox Nursing Home Corp. d/b/a Fox Subacute at Warrington (hereinafter, the

“Committee” or the “Plaintiff”), by its undersigned attorneys, in support of this complaint (the

“Complaint”) hereby alleges upon information and belief as follows:

                                   NATURE OF THE CASE


       1.      This Complaint seeks to avoid and recover from the above-named Defendant, or

from any other person or entity for whose benefit the transfers were made, all transfers of

property made for, or on account of, an antecedent debt, and to or for the benefit of the

Defendant by the Debtors, as described herein, during the one-year period prior to the filing of

the Debtors’ bankruptcy petition, pursuant to 11 U.S.C. §§ 547 and 550. The Plaintiff also seeks

to avoid and recover, pursuant to 11 U.S.C. §§ 548 and 550, and 12 Pa.C.S. §§5104 and 5105,

any fraudulent transfers that the Defendant may have received. If the Defendant has filed a proof

of claim or has otherwise requested payment from the Debtors or the Debtors’ estates,

(collectively, the “Claims”), the Plaintiff may seek certain relief pursuant to 11 U.S.C. § 502 as

further stated below.


                                            PARTIES

       2.      Plaintiff is the Official Committee of Unsecured Creditors of the Estates of Fox

Subacute at Mechanicsburg, LLC (“Fox Mechanicsburg”); Fox Subacute at Clara Burke, Inc.

(“Fox Clara Burke”); Fox Subacute at South Philadelphia, LLC (“Fox South Philadelphia”); Fox

Nursing Home Corp. d/b/a Fox Subacute at Warrington (“Fox Warrington” and collectively the

“Debtors”).


       3.      The Committee was granted the standing and authority to pursue this action by

Order of this Court dated November 16, 2021 [Docket No. 570].


                                                 2

Case 1:22-ap-00039-HWV          Doc 1 Filed 08/26/22 Entered 08/26/22 12:04:19                Desc
                               Main Document    Page 2 of 12
       4.      By virtue of that certain Tolling Agreement, as amended, the Defendant agreed to

an extension of all applicable Statutes of Limitation through August 29, 2022. See Tolling

Agreement, together with Sixth Amendment thereto, attached hereto as Exhibit “A” and

incorporated herein.


       5.      Defendant Fox Subacute Management, Inc. (“Management”) is a Pennsylvania

corporation with an address of 251 Stenton Avenue, Plymouth Meeting, Pennsylvania 19462 and

may be served with process in this action by mailing first class mail, postage prepaid, a true and

correct copy of this Complaint and Summons pursuant to Federal Rule of Bankruptcy Procedure

7004(b).


       6.      James Foulke serves as president of Management and is its sole shareholder.

James Foulke is also President and majority shareholder of each of the Debtors.


       7.      As a result, Management is an “insider” of the Debtors, as defined under 11

U.S.C. § 101(31).


                                        JURISDICTION


       8.      This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 157 and 1334. The causes of action set forth herein concern the determination, allowance,

and amount of claims pursuant to 11 U.S.C. §§ 502, 547, 548 and 550, and, as such, constitute

“core” proceedings to be heard and determined by the Court pursuant to 28 U.S.C. § 157(b)(2).


       9.      Venue is proper in the Middle District of Pennsylvania pursuant to 28 U.S.C. §

1408 and 1409.




                                                 3

Case 1:22-ap-00039-HWV          Doc 1 Filed 08/26/22 Entered 08/26/22 12:04:19                Desc
                               Main Document    Page 3 of 12
                                        BACKGROUND


       10.     On November 1, 2019 (the “Petition Date”), the “Debtors filed voluntary petitions

under Chapter 11 of the United States Bankruptcy Code.


       11.     Since the Petition Date, the Debtors have remained in possession of their assets as

Debtors-in-Possession. Their cases are being jointly administered.


       12.     All of the Debtors are either Pennsylvania corporations or limited liability

companies engaged in the healthcare business and operation of skilled nursing facilities.


       13.     At all relevant times, Management provided certain accounting, financial and

management services to each of the Debtors.


       14.     The services provided by Management are subject to certain Management

Agreements dated July 1, 2019, executed by each of the Debtors and which are virtually identical

in terms. See the “Management Agreements”, attached hereto as Exhibits “B”, “C”, “D” and

“E” and incorporated herein.


       15.     Each of the Management Agreements were for a term of five (5) years, and

provided for payment of a monthly management fee equal to five percent (5%) of the “total

operating revenue” for each month. See Management Agreement, Sec. 2.1(a).


       16.     The term “total operating revenue” is not defined in the Management Agreements.


       17.     At all times relevant, Management has calculated “total operating revenue” to

include the applicable Debtors’ monthly sales, regardless of whether revenues from such sales

were collected.


                                                4

Case 1:22-ap-00039-HWV          Doc 1 Filed 08/26/22 Entered 08/26/22 12:04:19                Desc
                               Main Document    Page 4 of 12
       18.       The components of “sales” are: (a) room and board billed (not collected); (b)

ventilator reimbursements billed (not collected); (c) therapy revenues billed (not collected); (d)

an accrual for a daily bed rate of $130.00 expected to be collected; and (e) an accrual for the

annual allocation from the Commonwealth of Pennsylvania in the annual amount of $1.5 million.


       19.       The Management Agreements were signed by James Foulke as “President and

CEO” on behalf of both Management and each of the Debtors.


       20.       Upon information and belief, Management has no other clients, and has no other

revenue sources aside from the Debtors.


       21.       During the one-year period prior to the Petition Date (the “Preference Period”),

the Debtors paid to Management the following amounts: (a) the total amount of $840,000 from

Fox Warrington; (b) the total amount of $1,403,500 from Fox Clara Burke; (c) the total amount

of $2,023,000 from Fox Mechanicsburg; and (d) the total amount of $171,000 from Fox South

Philadelphia.


       22.       In total, during the four-year period prior to the Petition Date, the Debtors paid to

Management the approximate following amounts:


                        2016            2017             2018          2019

Fox Warrington          $500,000        $494,000         $863,000      $840,000

Fox Clara Burke         $560,000        $648,500         $420,000      $1,403,500

Fox Mechanicsburg       $225,000        $1,288,500       $1,287,000    $2,023,000

Fox South Philadelphia $0               $42,000          $0            $171,000




                                                     5

Case 1:22-ap-00039-HWV            Doc 1 Filed 08/26/22 Entered 08/26/22 12:04:19                 Desc
                                 Main Document    Page 5 of 12
                              COUNT I
        AVOIDANCE OF PREFERENCE PERIOD PAYMENTS - 11 U.S.C. § 547


       23.     The Plaintiff incorporates all preceding paragraphs as if fully set forth herein.


       24.     Payments totaling approximately $4,437,500 were made by the Debtors to the

Defendant the Preference Period (the “Preferential Transfers”).


       25.     The Preferential Transfers were to or for the benefit of the Defendant, a creditor

within the meaning of 11 U.S.C. § 547(b)(1).


       26.     The Preferential Transfers were made for, or on account of, an antecedent debt or

debts owed by the Debtors to the Defendant before such payments were made.


       27.     The Preferential Transfers were made while the Debtors were insolvent.


       28.     The Preferential Transfers were made during the Preference Period.


       29.     As a result of these payments, the Defendant received more than the Defendant

would have received if: (i) the Debtors’ cases were under chapter 7 of the Bankruptcy Code; (ii)

the transfers had not been made; and (iii) the Defendant received payment of its debts under the

provisions of the Bankruptcy Code. Each of the Debtors’ liabilities exceed its assets to the point

that unsecured creditors will not receive a full payout of their claims against the Debtors.


       30.     In accordance with the foregoing, the payments are avoidable pursuant to 11

U.S.C. § 547(b).


       31.     During the course of this proceeding, the Plaintiff may learn (through discovery

or otherwise) of additional transfers made by the Debtors to the Defendant during the Preference


                                                 6

Case 1:22-ap-00039-HWV          Doc 1 Filed 08/26/22 Entered 08/26/22 12:04:19                 Desc
                               Main Document    Page 6 of 12
Period. It is the Plaintiff’s intention to avoid and recover all transfers made by the Debtors of an

interest in property to or for the benefit of the Defendant or any other transferee. The Plaintiff

reserves its right to amend this original Complaint to include: (i) further information regarding

the Preferential Transfers, (ii) additional transfers, and/or (iii) additional defendants (collectively,

the “Amendments”), that may become known to the Plaintiff at any time during this adversary

proceeding, through formal discovery or otherwise, and to request that the Amendments to relate

back to this original Complaint.


                            COUNT II
   TO AVOID FRAUDULENT TRANSFERS PURSUANT TO 11 U.S.C. § 548(A)(1)(B)


        32.     The Plaintiff incorporates all preceding paragraphs as if set forth in full herein.


        33.     Between November 1, 2015 and the Petition Date, Management received the

following payments from the Debtors: (a) the approximate total amount of $2,697,000 from Fox

Warrington; (b) the approximate total amount of $3,032,000 from Fox Clara Burke; (c) the

approximate total amount of $4,823,500 from Fox Mechanicsburg; and (d) the approximate total

amount of $213,000 from Fox South Philadelphia (collectively, the “Fraudulent Transfers”).


        34.     Subject to proof, the Plaintiff maintains that the Fraudulent Transfers were not

made on account of an antecedent debt owed by the Debtors, or were prepayments for goods

subsequently received, and that the Debtors did not receive reasonably equivalent value in

exchange for the Fraudulent Transfers.


        35.     The Debtors: (i) were insolvent on the dates that the Fraudulent Transfers were

made or became insolvent as a result of the Fraudulent Transfers or (ii) were engaged in business

or a transaction, or was about to engage in business or a transaction, for which any property

                                                   7

Case 1:22-ap-00039-HWV           Doc 1 Filed 08/26/22 Entered 08/26/22 12:04:19                   Desc
                                Main Document    Page 7 of 12
remaining with the Debtors was an unreasonably small capital, or (iii) intended to incur, or

believed that it would incur, debts that would be beyond its ability to pay as such debts matured.


        36.     The Fraudulent Transfers are avoidable pursuant to 11 U.S.C. §548(a)(1)(B).


                                COUNT III
        TO AVOID FRAUDULENT TRANSFERS PURSUANT TO 11 U.S.C. §§ 544
          AND PENNSYLVANIA UNIFORM FRAUDULENT TRANSFER ACT
                        12 PA.C.S. §§ 5104 AND 5105


        37.     The Plaintiff incorporates all preceding paragraphs as if set forth in full herein.


        38.     Pursuant to Pennsylvania Uniform Fraudulent Transfer Act 12 Pa.C.S. §§ 5104

and 5105, made applicable hereto pursuant to 11 U.S.C. § 544, the Fraudulent Transfers were

actually and/or constructively fraudulent.


        39.     At all times relevant to the Fraudulent Transfers, there was and is at least one or

more creditors who have held or hold matured or unmatured claims against the Debtors that were

and are allowable under section 502 of the Bankruptcy Code or that were and are not allowable

only under section 502(e) of the Bankruptcy Code.

        40.     Defendant received the Fraudulent Transfers within four (4) years of the Petition

Date.

        41.     The Debtors made the Fraudulent Transfers to Defendant with the actual intent to

hinder, delay or defraud its creditors, or without the Debtors receiving a reasonably equivalent

value in exchange for the Fraudulent Transfers.

        42.     At the time of the Fraudulent Transfers, the Debtors were insolvent, or became

insolvent as a result thereof.




                                                  8

Case 1:22-ap-00039-HWV            Doc 1 Filed 08/26/22 Entered 08/26/22 12:04:19                 Desc
                                 Main Document    Page 8 of 12
       43.     At the time of Fraudulent Transfers, the Debtor wwereas engaged in a business or

a transaction, or was about to engage in a business or transaction, for which the remaining assets

of the Debtors were unreasonably small in relation to the business or transaction; or the Debtors

intended to incur, or believed or reasonably should have believed that the Debtors would incur,

debts beyond such Debtor’s ability to pay as they became due.

       44.     Defendant is the initial transferee, or immediate or mediate transferee of the initial

transferee, of each of the Fraudulent Transfers.

       45.     Accordingly, the Fraudulent Transfers are avoidable by the Trustee as fraudulent

transfers under the Pennsylvania Uniform Fraudulent Transfer Act, 12 Pa. C.S. § 5104 and

§5105 and pursuant to section 544(b) of the Bankruptcy Code.

                                COUNT IV
                RECOVERY OF AVOIDED TRANSFERS - 11 U.S.C. § 550


       46.     The Plaintiff incorporates all preceding paragraphs as if fully set forth herein.


       47.     The Preferential Transfers and the Fraudulent Transfers are collectively referred

to as the “Avoidable Transfers.”


       48.     The Plaintiff is entitled to avoid the Avoidable Transfers pursuant to 11 U.S.C. §§

544, 547(b) and 548.


       49.     The Defendant was the initial transferee of the Avoidable Transfers, or the

immediate or mediate transferee of such initial transferee, or was the person/entity for whose

benefit the transfer was made.




                                                   9

Case 1:22-ap-00039-HWV            Doc 1 Filed 08/26/22 Entered 08/26/22 12:04:19               Desc
                                 Main Document    Page 9 of 12
        50.     Pursuant to 11 U.S.C. § 550(a), the Plaintiff is entitled to recover from the

Defendant the Avoidable Transfers, plus interest thereon to the date of payment and the costs of

this action.


                                  COUNT V
               DISALLOWANCE OF ALL CLAIMS - 11 U.S.C. § 502(D) AND (J)


        51.     The Plaintiff incorporates all preceding paragraphs as if fully set forth herein.


        52.     The Defendant is the party from whom property is recoverable under 11 U.S.C. §

550.


        53.     The Defendant is the transferee of the Avoidable Transfers, which are avoidable

under 11 U.S.C. §§ 544, 547 and 548.


        54.     The Defendant has not paid the amount of the Avoidable Transfers, or turned over

such property, for which the Defendant is liable under 11 U.S.C. § 550.


        55.     Pursuant to 11 U.S.C. § 502(d), any and all Claims of the Defendant, and/or its

assignees, against the Debtors’ estates must be disallowed until such time as the Defendant pays

to the applicable Debtors’ estates an amount equal to the aggregate amount of all of the

avoidable and/or recoverable Avoidable Transfers, plus interest thereon and costs.


        56.     Pursuant to 11 U.S.C. § 502(j), any and all Claims of the Defendant and/or its

assignees, against the Debtors’ estates previously allowed must be reconsidered and disallowed

until such time as the Defendant pays to the applicable Debtors’ Estates an amount equal to the

aggregate amount of all of the avoidable and/or recoverable Avoidable Transfers, plus interest

thereon and costs.


                                                 10

Case 1:22-ap-00039-HWV          Doc 1 Filed 08/26/22 Entered 08/26/22 12:04:19                  Desc
                               Main Document    Page 10 of 12
                                     RELIEF REQUESTED


       WHEREFORE, the Plaintiff respectfully requests that this Court enter an Order providing

the following relief against the Defendant:

               (a)     That the Avoidable Transfers be avoided under 11 U.S.C. §§ 547 and 548,

and the Pennsylvania Uniform Fraudulent Transfer Act 12 Pa.C.S. §§ 5104 and 5105, made

applicable hereto pursuant to 11 U.S.C. § 544, and judgment be entered in favor of the Plaintiff

and against the Defendant;

               (b)     That the Avoidable Transfers, to the extent that they are avoided pursuant

to 11 U.S.C. §§ 547, 548 and/or 12 Pa.C.S. §§ 5104 and 5105 be recovered by the Plaintiff for

the benefit of the respective Debtors’ estates pursuant to 11 U.S.C. § 550;

               (c)     That any Claims held by the Defendant and/or its assignees be disallowed

until the Defendant can satisfy the judgment being granted in this action, in accordance with 11

U.S.C. § 502(d) and (j);

               (d)     That any Claims held by the Defendant be expunged as a result of the

application of 11 U.S.C. § 558;

               (e)     That pre-judgment interest be awarded at the maximum legal rate running

from the date of each Avoidable Transfer to the date of judgment herein;

               (f)     That post-judgment interest be awarded at the maximum legal rate running

from the date of judgment herein until the date the judgment is paid in full, plus costs;

               (g)     That the Defendant be required to pay forthwith the judgment amount

awarded in favor of the Plaintiff; and



                                                 11

Case 1:22-ap-00039-HWV          Doc 1 Filed 08/26/22 Entered 08/26/22 12:04:19                Desc
                               Main Document    Page 11 of 12
              (h)    That the Plaintiff be granted such other and further relief as the Court

deems just and proper.

                                           FLASTER/GREENBERG P.C.

                                           /s/ Harry J. Giacometti
 Dated: August 26, 2022
                                           Harry J. Giacometti, Esquire
                                           Damien N. Tancredi, Esquire
                                           1717 Arch Street, Suite 3300
                                           Philadelphia, PA 19103
                                           (215) 587-5680
                                           Harrry.giacomettti@flastergreenberg.com
                                           Counsel to the Official Committee of Unsecured
                                           Creditors




                                              12

Case 1:22-ap-00039-HWV       Doc 1 Filed 08/26/22 Entered 08/26/22 12:04:19                     Desc
                            Main Document    Page 12 of 12
